JS 44 (Rev. 04/21)                   Case 1:24-cv-00423-RP Document
                                                       CIVIL COVER1-3 Filed 04/22/24 Page 1 of 2
                                                                    SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
       SYDNEY NICOLE LLC and SYDNEY NICOLE GIFFORD                                                                 ALYSSA SHEIL LLC and ALYSSA SHEIL

    (b) County of Residence of First Listed Plaintiff                Travis, TX                                    County of Residence of First Listed Defendant                 Williamson, TX
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
        The Kumar Law Firm PLLC, 2110 Ranch Roa 620 S, P.O.                                                        Schmidt Law LLC, 16337 Emerson Drive, Orlando Park, IL
        Box 341060, Lakeway, TX, 512-960-3808                                                                      60467, 312-884-1700

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                       and One Box for Defendant)
    1   U.S. Government                ✖   3   Federal Question                                                                        PTF           DEF                                         PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                          Citizen of This State            1             1      Incorporated or Principal Place         4     4
                                                                                                                                                                of Business In This State

    2   U.S. Government                    4   Diversity                                                Citizen of Another State              2          2    Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                  of Business In Another State

                                                                                                        Citizen or Subject of a               3          3    Foreign Nation                             6         6
                                                                                                          Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                            Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                        OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY                   625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -                  of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability              690 Other                                  28 USC 157                         3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                            INTELLECTUAL                     400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                        PROPERTY RIGHTS                    410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                   ✖   820 Copyrights                     430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                                     830 Patent                         450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                                     835 Patent - Abbreviated           460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                            New Drug Application           470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                             840 Trademark                          Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                            LABOR                         880 Defend Trade Secrets           480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud                    710 Fair Labor Standards                   Act of 2016                        (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending                   Act                                                                   485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal                 720 Labor/Management                   SOCIAL SECURITY                        Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage                    Relations                          861 HIA (1395ff)                   490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage                740 Railway Labor Act                  862 Black Lung (923)               850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability              751 Family and Medical                 863 DIWC/DIWW (405(g))                 Exchange
                                            Medical Malpractice                                                 Leave Act                          864 SSID Title XVI                 890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS                  790 Other Labor Litigation             865 RSI (405(g))                   891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                     791 Employee Retirement                                                   893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                     Income Security Act                FEDERAL TAX SUITS                  895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                     870 Taxes (U.S. Plaintiff              Act
    240 Torts to Land                   443 Housing/                         Sentence                                                                   or Defendant)                 896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                               871 IRS—Third Party                899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                      IMMIGRATION                             26 USC 7609                       Act/Review or Appeal of
                                            Employment                   Other:                             462 Naturalization Application                                                Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other               465 Other Immigration                                                     950 Constitutionality of
                                            Other                        550 Civil Rights                       Actions                                                                   State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from                  4 Reinstated or              5 Transferred from  6 Multidistrict                            8 Multidistrict
      Proceeding             State Court                              Appellate Court                  Reopened                     Another District      Litigation -                             Litigation -
                                                                                                                                    (specify)             Transfer                                 Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           17 USC Sec. 501, 17 USC Sec.1203
VI. CAUSE OF ACTION Brief description of cause:
                                           Copyrigh infringement, violation of DMCA, trade dress infringement, misappropriation, tortious interference with business relations

VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                             DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                                  JURY DEMAND:                  ✖   Yes         No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                       DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
4/18/2024                                                                 /s/ Kirsten Kumar
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                       APPLYING IFP                                       JUDGE                               MAG. JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
